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                            IN THE UNITED STATES BANKRUPTCY COURT
                                FORTHE DISTRICT OF PUERTO RICO



 IN RE:                                                             CASE NO. I I-04024-ESL

 MARI'IZA GONZALEZ SANTOS

 DEBTOR                                                             CHAPTER       13




                            DEBTOR'S MOTION REQUESTING ORDER
                   RE: ATTTHORIZATION TO USE FUNDS FROM 2013 TAX REFUND


 TO THE HONORABLE COURT:

             NOW COMES, MARITZA GONZALEZ SANTOS, debtor, through the undersigned

 attorney, and very respectfully states and prays as follows:

              l.   The debtor's confirmed Plan dated November 27,2013, provides that debtor's tax refunds

 will   be paid into the Plan. See docket #61     .




             2. The debtor has received the 201 3 tax refund in the sum of    $   172.00. Attached is copy   of

 201    I   local tax retum, filed on April 1 5, 20 I 4. which reflects the amount of the check issued by the

 Puerto Rico Treasury Department. It is to be noticed that the debtor met with the undersigned

 attomey regarding this matter and respectfully submits that she has lost the check stub/receipt, thus,

 she attached her tax retum as evidence          of the amount received from the Puefio zuco Treasury

 Depaftment.

             3. The debtor respectfully submits to the Courl that she used these funds to pay for: carrepair


 expenses. Attached is copy        ofcar repair inroice.

             4, The debtor was in need to use the funds from the 2013 "tax refund' to pay for this

 reasonablc cxpense. Furthermore. the debtor is            living within a very "tight" budget which barely
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 Debtor's Motion Requesting Orde.
 Case no. I   l-04024-ESLl3



 covers her living expenses and a Plan payment of$150.00.

             5. Based on the above-stated. the debtor respectfully requests this Court to Order             the

 authorization of the use of these funds to allow the debtor to pay for this expense with the "tax

 refund".

             WHEREFORE, debtor, through the undersigned attomey respectfully requests that this

 Ilonorable Court grant the foregoing motion and allow the use ofthe funds from the 2013 kx refund

 h1 the debtor to pay for rhe above stated expense.

 NOTICE: Within fourteen (14) days after service as evidenced by the certification, and an additional
 three (3) days pursuant to Fed. R. Bank. P, 9006 (f) ifyou were served by mail, any parfy againstwhom
 this paper has been served, or any other paffy to the action that objects to the reliefsought herein shall
 sen,e and file an objection or other appropriate response to this paperwith the Clerk's office ofthe U.S.
 Bankruptcy Court for the District of Puedo Rico. If no objection or other response is filed within the
 fime allowed herein, the paper will be deemed unopposed and may be granted unless: (i) the requested
 relief is forbidden by law; (ii) the requested relief is against public policy; or (iii) in th€ opinion of the
 Court, the interest ofjustice requires otherwise.

             I CERTIFY that on this   same date a cooy of this motion was filed with the Clerk of the

 Couft using the CM/ECF system which will send notice of same to the Chapter 13 Trustee; I also

 ceniti that a copy of this motion was sent via US Mail to debtor, Maritza Gonzalez              Santos, to her

 address      ofrecord: PO Box 3, Gurabo, PR 00778.

             RESPECTFULLY SUBMITTED. In San Juan, Puedo Rico, this                  4'n day of   August,20i4.

                                    /s/ Roberto Fieueroa Canasquillo

                                           ROBERTO FIGUEROA CARRASQUILLO
                                           usDC #203614
                                           ATTORNEY FOR PETITIONER
                                           PO BOX 186 CAGUAS PR 00726
                                           IEL NO 187-744-7699 F AX781-746-5294
                                           Email : rfi gueroa@rfclawpr.com
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                                                                  2013                 "*T#:i,?;3,'lt"??::i:'^['f"" 2013
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             B) Apodacr& al Fondo Especia para el Esllario
             C) Aponacioo al Fondo Especial para la Universidad
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                                                                            en el caso de 0er50nas casadas oue


            1.   Sleldos, Comisiones, Concesiones           y   ProDinas                                                                                A-Conlribuc6n Relenda                                g-Sueidos.Comisiones.



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              C- Salarios del Gobierno Federal {Vaa|l5e                rnslruccronesi
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             A) Dislnbucones totales de planes de reliro cualilicados tAneio 0 Indviduo, Paie iV, llnea 271 ..................
             8)    Ganancia (o p6rdida) en la venla o pefinuta de aclivos de capitai (Anejo D lndividuo. Pane V, linea 36 o 37, segun aliique)
             C) Inlergses (Anejo F lndivrduo, Pa e              1, llnea    5) ......................
             D)    DMdendos de.oporaciones (Anejo F lndividuo, Parte ll, linea 4)
             E)    Dislribuciones   de Plan€s Gub€rnamerlales (Anejo F Individlo. Parte lll, linea 3)                           - .... .. .
             F)    Dislriblcionos de Cuenlas de Retio Individual v CLrenlas de A0onacion Educativa {AneIo
                                                                                                        F lndividuo. Parte                                         lV.
             G) Ingresos miscelaneos (Anejo F lndrvrduo Pane Vll. lin€a 6)
             H) Ing.esos de anual!dades y pensiones (Aneto H Individuo. Parle ll. linea 12) ................     . .-.                        ..
             l) Gananca {o pdrdida) atnbuibie a mduslria o negocio {Aneio K Indivduo, Paie ll. iiea 10) ..
             J) Ganancla {o pedida) alrblible a la agrcullura lAneio L Indi$duo, Pane ll, inea 12\ .. -- .-.-
             K) Gananca (o perdida) ahbuibe a proiesiones y comisiones (Anejo M IndlMdlo. Pane ll. linea 6) .
             LJ Canan( a to peroioal alriorole a aloui'er (Anelo \ l-di duo. Pa4e I irrea 7i
             M) Divrd€ndos de Fondo de Capilal de Inversion o de Tursmo {Someta Anelo Q1)
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             O)    Padicipacron dislribuible en benelicios de socredades. soc edades especiales y
             P)    Pension reciblda por divorcio o separacion (Nim. seguro social del que paga.
       3. Total de lngresos (S!'ne line6s 18. 1C y                  24 a la      2P)
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      28. BALANCE:. 5i in€a 27 es mayor que la suma de lineas 24. 25 y 26, usled tiene un sobrcpago. Anote dt€rencia aqui y en linea 1 de paglna 1.
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              'A1 lndividuo
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